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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    BENJAMIN D. GALLOWAY, #214897
     Chief Assistant Federal Defender
3    RACHELLE BARBOUR, #185395
     Assistant Federal Defender
4    Office of the Federal Defender
     801 I Street, 3rd Floor
5    Sacramento, CA 95814
     Tel: 916-498-5700/Fax: 916-498-5710
6
     Attorneys for
7    OMAR AMEEN
8
                             IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   IN THE MATTER OF THE                       )   Case No. 2:18-mj-152 EFB
     EXTRADITION OF OMAR                        )
12   ABDULSATTAR AMEEN TO THE                   )    ----------- ORDER GRANTING SUBPOENA
                                                    [proposed]
     REPUBLIC OF IRAQ,                          )   UNDER 18 U.S.C. § 3191 and § 2703
13                                              )
                                                )   Judge: Hon. Edmund F. Brennan
14
15          The Court hereby GRANTS the Defense request for a subpoena for non-content Twitter
16
     information as provided on the attached subpoena, which has been reviewed by the Court.
17
     Under 18 U.S.C. § 2703(d), the Court finds that the defense has offered specific and articulable
18
     facts showing that there are reasonable grounds to believe that the information sought by the
19
20   subpoena is relevant and material to an ongoing criminal investigation. The Court ORDERS the

21   issuance of the subpoena, and that it be served on Twitter with a copy of this Order.

22
                                                    IT IS SO ORDERED.
23
24   DATED: February 21
                     __, 2019

25
26                                                  Hon. Edmund F. Brennan
                                                    United States Magistrate Judge
27
28



     [proposed]
      --------- ORDER – US v. Ameen
